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AO 450 (Rev. 5/85) Judgment in a Civil Case 




                                                United States District Court
                                                   WESTERN DISTRICT OF WASHINGTON
                                                             AT SEATTLE



 COSTCO WHOLESALE CORPORATION,                                               JUDGMENT IN A CIVIL CASE
                         Plaintiff,                                          CASE NUMBER:   C13-1207RAJ

                                      v.

 AU OPTRONICS CORPORATION, AU OPTRONICS
 CORPORATION AMERICA, LG DISPLAY CO., LTD.,
 and LG DISPLAY AMERICA, INC.,

                         Defendants.



  X        Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the
           jury has rendered its verdict.

  _        Decision by Court. This action came to consideration before the Court.              The issues have been
           considered and a decision has been rendered.

THE COURT HAS ORDERED THAT

        Based on the jury’s October 23, 2014 verdict and the court’s June 4, 2015 findings of fact and conclusions
of law, the court enters judgment for Plaintiff and against Defendants for $61,971,040.


           Dated this 4th day of June, 2015.



                                                         WILLIAM M. MCCOOL
                                                         Clerk


                                                         /s Lynn Kandziora
                                                         Deputy Clerk
